U.S. Department uf Justice : PROCESS RECEIPT AND RETURN .
United States Marshals Service See "Tnstructions for Service af Process by US. Marshal" / /12/ Zane e

PLAINTIFF og COURT CASE NUMBER ¢-=) YE [)-.f) Eh
CityScape Corp. ° ' Misc. Act ipo Nejc rie GrgNO21
DEFENDANT — : — TYPE OF PROCESS

WALSH SECURTTTES, INC, Persona, FER 1S 3: Q|

NAME OF INDIVIDUAL, COMPANY, CORPORATION, ETC. 10 SERVE OR DESCRIPTION OF PROPERLY 10 SHIVEGR CONDE

SERVE J Clerk of the City of Newark anaes bie etee sy ue
AT ADDRESS (Street or HED, Apartment No., City, State and ZIP Cade)

920 Broad Street, Newark, NJ, 07102
SEND NOTICE OF SERVICE COPY TO REQUESTER A'T NAME AND ADDRESS BELOW

Number of process to be

sen aerved with this Form 285
[Francis Bal lak, Fsquire .
Colderiberg, Mackler, Sayegh, Mintz, et al Nomber of partis to be
660 New Road an.
Northfield 5 NJ 08225 Check for service
on U7.5.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATLION THAT WILT. ASSIST IN EXPEDITING SERVICE Cacde Banc ped Ab
All Telephone Nansbers, and Extonoted Tomes Available for Service):
Fold

Signatupe-of Aitomcy other Originator requesting service on behalf of ~ CA PLAINTIFF TELGPIONE NUMBER DATE
fms Se Ben blah $0Q, L] DEFENDANT 609/646-0222 [2-32R-OS-
SPACE BELOW FOR USE OF US. MARSHAL ONLY-—- DO NOT WRITE BELOW THIS LINE

Tacknowledge receipt for the total { Total Process | District of Thistrict to Si m of ized USMS Deputy or Chotk Date

number vf proces: indicated. Origin Serve -

(Sige only for USM 285 more | Ch - b , ,
than one USAS 205 is subenitted) oe no No at } hae | b

Thereby certify and retum that 1 PT awe porsonailly served , CI have legal evidenoe of xervies, WF tave executed as chown in "Remarks", the process described
on the individual , company, corporation, cic., at the addreax shown above on the on the individual , company, corporation, etc. shown at the addreaa inacrted below.

Pi hercby awetify and return that [am unable te im-ate the individual, company, corporation, ete. named abuve (See renrarks below)

Nano thd tlle 0 peli nerved (if npf shawn abe = “} Apoumafmisvcanaadeoci”
dei; f hy [? then residing in defendant's usual place
/ Uo . dc Al lgte of abode
O aun

Addreaa (complete only diffzrent than shown abowe} ’D
Gro | 31K) Fim

Time.

Fool |
ONT”

Service Fee Total Mikcage Chargea| Forwarding Fee | ‘Total Charges | Advance Deposits | Amount owed lu 11.5. Marshal” or
inchuding endeavors) (Amount of Refund”)

pe ag 45.

REMARKS: f jaf La, Rr290 ¥.3e 2 ‘Th

4§.28
ee
eo 1 9 an
GOR esuleen il. CLERK OF THR COURT PRIOR FDITIONS MAY BE USED

2. UBMS RECORD
3, NOTICE OF SERVICE
4. BILLING STATEMENT"; To be returned to the U.S. Marshal with payment, Form USM-285

if any amount jx owel, Please remit promptly payable to 01.5. Marshal. Rev. 12/15/80
5. ACKNOWLEDGMENT OF RECEIPT Automated 01/00

oe |
